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                                          June 15, 2020                 USDC SDNY
                                                                        DOCUMENT
Honorable Mary Kay Vyskocil                                             ELECTRONICALLY FILED
United States District Judge                                            DOC #:
Southern District of New York                                           DATE FILED: 6/16/2020
500 Pearl St.
New York, NY 10007-1312



                            Re: Henry Argueta, DOB 10/15/79
                          USA v. Navarro Order 1:20-cr-00160-MKV

Dear Judge Mary Kay Vyskocil:


       Greetings. I write to you with the request that the Court extend the travel restrictions for
my client, Henry Argueta, so that he may live and travel in the Northern District of New York.
Henry Argueta currently resides in Belmont, New York. He has the intent to move further
upstate New York; a move not permitted under his current travel restrictions. There is no
objection to this request from the Pretrial Services Office or the US Attorney’s office.


       Mr. Argueta is the sole provider for his three children and wife. The Argueta family has
little in savings and neither Henry nor Maria Argueta are employed at the moment due to
COVID-19 restrictions. Henry Argueta desires to move further upstate New York, to the
Saratoga Springs area, because he believes it will be easier to find employment there. He has
expressed that he cannot continue to pay the rent at his current residence and that he can find
more affordable living conditions further upstate New York. In fact, his wife already has
received a full-time job offer in a local bakery. Additionally, Mrs. Argueta's parents, Francisco
Bravo and Lilia Rios Bravo, are located approximately fifteen minutes from Saratoga Springs
and will be able to provide child care support to Mr. Argueta while he and his wife both secure
full-time employment.
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                                                Yours,



                                                /s/ Paul D. Petrus Jr., Esq.
                                                Paul D. Petrus Jr. & Associates P.C.
                                                The Empire State Building
                                                350 Fifth Avenue, Suite 4020
                                                New York, NY 10118
                                                212.564.2440 (Office)
                                                212.967.3010 (Fax)




Assistant U.S. Attorney                  GRANTED. Mr. Argueta is permitted to travel to the
Sarah Mortazavi                          Northern District of New York to secure housing for himself
One Saint Andrew’s Plaza                 and his family. Until permanent housing is secured, Mr.
New York, NY 10007                       Argueta must inform the Pretrial Services Office whenever he
Via Email: Sarah.Mortazavi@usdoj.gov     travels into the Northern District of New York. Once
                                         permanent housing in the Northern District of New York is
Assistant U.S. Attorney                  secured, Mr. Argueta must continue with pretrial supervision
Andrew Caldwell Adams                    as directed by the Office of Pretrial Services. All other
One Saint Andrew’s Plaza                 conditions of Mr. Argueta’s bail remain the same. Mr.
New York, NY 1007                        Argueta is specifically reminded that he is not to have any
Via Email: Andrew.Adams@usdoj.gov        contact with racehorses without the direct supervision of the
                                         third party owner of the premises where the horse is stabled
Assistant U.S. Attorney                  and he must comply with the rules and regulations of any
Benet Jeanne Kearney                     licensing regimes to which he is subject.
One Saint Andrew’s Plaza
New York, NY 10007
Via Email: Benet.Kearney@usdoj.gov               6/16/2020


U.S. Pretrial Services Officer
Marlon Ovalles
Southern District of New York
500 Pearl Street, Room 550
New York, NY 10007
Via Email: Marlon_Ovalles@nyspt.uscourts.gov

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Via Email: Kathy_Rodriguez@nyept.uscourts.gov
